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      6
      7
                              UNITED STATES DISTRICT COURT
      8
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
      9
     10
                                                  CASE NO. CV 85-4544-DMG (AGRx)
     11   JENNY LISETTE FLORES, et al.,
     12                                           NOTICE OF INTENT TO ENGAGE
                             Plaintiffs,          EXPERT PURSUANT TO
     13                                           MONITORING ORDER SECTION C.1
     14              v.
     15   WILLIAM P. BARR, Attorney
     16   General of the United States, et al.,
     17
                      Defendants.
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                                                             NOTICE OF INTENT TO ENGAGE EXPERT
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      1           The Monitor hereby notifies the Court and parties of her intent to engage
      2   Paul H. Wise as an expert consultant (“the Expert”) pursuant to Section C.1 of the
      3   Monitoring Order. [Doc. #494.] The Expert will assist the Monitor in evaluating
      4   Defendants’ compliance with the Flores Settlement Agreement (“FSA”) and
      5   Orders of 2017 and 2018. The Monitor has consulted with Counsel for Defendants
      6   and Plaintiffs regarding this appointment, and all are in agreement with the
      7   Monitor’s intended selection.
      8   I.      Expert Tasks
      9           At the outset, the Expert will consult with and assist the Monitor in
     10   assessing child health and safety conditions in facilities operated by Customs and
     11   Border Protection (CBP) and Office of Refugee Resettlement (ORR). The Expert
     12   will advise the Monitor on any remedial steps necessary to bring the conditions of
     13   custody and systems of child health care into compliance with the law and the
     14   Flores Settlement Agreement (FSA).
     15           The Expert will assess the health conditions of minors in custody of CBP
     16   and ORR and will, among other things, review and assess demographic and
     17   programmatic data, standards and protocols for child health and safety, and
     18   medical records of children in custody of CBP and ORR. The Expert will conduct
     19   facility inspections, interviews with children and parents in the custody of CBP and
     20   ORR, and      meet with responsible Department of Homeland Security and
     21   Department of Health and Human Services officials and relevant experts and
     22   professional organizations.
     23           The Expert's communications with parties, Class Members, and
     24   Defendants’ agents shall be subject to the same rules governing the Monitor’s
     25   communications. (Monitoring Order § E.1). In addition to advice and consultation
     26   with the Monitor, the Expert will prepare written report(s) that can be provided to
     27   the parties and incorporated into the Monitor’s Reports.
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      1   II.       Compensation
      2             Pursuant to Monitoring Order § C.2, the Expert shall be compensated by
      3   Defendants at the hourly rate of $250.00, as well as for all costs and expenses
      4   associated with the engagement. On a monthly basis, the Expert shall provide an
      5   invoice to the Monitor for review, which the Monitor will in turn submit to
      6   Defendants for payment directly to the Expert. Any disputes as to the Expert’s
      7   compensation shall be governed by the procedures set forth in Section C.2 of the
      8   Monitoring Order.
      9   III.      Confidentiality of Information
     10             Like the Monitor, the Expert shall be bound by the protective order
     11   governing this litigation. [Doc. # 270.] Upon formal engagement, the Expert will
     12   execute      the   Acknowledgement    of       Protective   Order     and     serve    such
     13   Acknowledgement on the Monitor and parties.
     14   IV.       Expert Qualifications and Objections
     15             The Expert’s curriculum vitae is attached hereto as Appendix A for
     16   reference.
     17   V.        Request for Authorization
     18             Accordingly, the Monitor requests, pursuant to Section C.1 of the
     19   Monitoring Order, that the Court determine to authorize the appointment of Dr.
     20   Paul Wise as the Expert.
     21
     22   DATED: July 5, 2019                   Respectfully Submitted,
     23
                                                Andrea Sheridan Ordin
     24                                         STRUMWASSER & WOOCHER LLP
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                                                By         /s/ Andrea Sheridan Ordin
     27                                                    Andrea Sheridan Ordin
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                                                Special Master / Independent Monitor
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                                                                      NOTICE OF INTENT TO ENGAGE EXPERT
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      1                                CERTIFICATE OF SERVICE
      2                              Case No. CV 85-4544-DMG (AGRx)
      3
                 I am a citizen of the United States. My business address is 10940 Wilshire
      4
          Boulevard, Suite 2000, Los Angeles, California 90024. I am over the age of 18 years, and
      5
          not a party to the within action.
      6
      7          I hereby certify that on July 5, 2019, I electronically filed the following documents
      8   with the Clerk of the Court for the United States District Court, Eastern District of
      9   California by using the CM/ECF system:
     10
          NOTICE OF INTENT TO ENGAGE EXPERT PURSUANT TO MONITORING
     11   ORDER SECTION C.1.
     12          I certify that all participants in the case are registered CM/ECF users and that
     13   service will be accomplished by the CM/ECF system.
     14
                 I declare under penalty of perjury under the laws of the United States the
     15
          foregoing is true and correct. Executed on July 5, 2019, at Los Angeles, California.
     16
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     18
                                                                /s/ Lauren S. Guerena
     19                                                            Lauren S. Guerena
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